              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                    [Previously Shelby Division]

                    CRIMINAL CASE NO. 4:96cr53-13


UNITED STATES OF AMERICA, )
                            )
                            )
             vs.            )                  ORDER
                            )
                            )
TONY HOEY.                  )
                          )



     THIS MATTER is before the Court on the Defendant’s Request to

Proceed in Forma Pauperis [Doc. 668] and his Motion to Reconsider

Petitioner’s Request for a Sentence Reduction pursuant to 18 U.S.C.

§3582(c)(2) [Doc. 680].

     In his first motion the Defendant apparently seeks the appointment of

counsel. This motion is moot because on February 15, 2012 Attorney Ross

Richardson appeared as counsel for the Defendant. [Doc. 672].

     As to the second motion, neither the federal statutes nor the Rules of

Criminal and Appellate Procedure provide for a motion for reconsideration in

a criminal case. United States v. Joseph, 455 F. App’x. 341 (4 th Cir. 2011).

     IT IS, THEREFORE, ORDERED that the Defendant’s Request to



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Proceed in Forma Pauperis [Doc. 668] is hereby DENIED as moot.

     IT IS FURTHER ORDERED that the Defendant’s Motion to Reconsider

Petitioner’s Request for a Sentence Reduction pursuant to 18 U.S.C.

§3582(c)(2) [Doc. 680] is hereby DENIED.

                                    Signed: August 2, 2012




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